      Case 8-18-08104-ast            Doc 19      Filed 01/08/19       Entered 01/08/19 18:41:32


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January 8, 2019


VIA CM/ECF

The Honorable Alan S. Trust
United States Bankruptcy Court
Eastern District of New York
Alfonse M. D’Amato Federal Courthouse
290 Federal Plaza, Courtroom 960
Central Islip, New York 11722

Re:     In re Orion HealthCorp, Inc., et al. (Case No. 18-71748-AST); In re Orion HealthCorp, Inc.,
        et al. v. Robinson Brog Leinwand Greene Genovese & Gluck, P.C., et al. (Adv. Case No. 18-
        08104-AST) – Notice of Adjourned Hearing and Status Conference

Dear Judge Trust:

        On behalf of the debtors and debtors in possession (the “Debtors”) in the above-referenced chapter
11 case (the “Chapter 11 Case”) and the plaintiffs in the above-referenced adversary proceeding (the
“Adversary Proceeding”), we write to confirm that the hearing scheduled on the matters set forth below has
been adjourned sine die pending a mediation that is scheduled to occur on February 6, 2019:

        1.        Initial Debtors’ Objection to Administrative Expense Claim for Post-Petition Costs and
                  Expenses Filed by Robinson Brog Leinwand Greene Genovese & Gluck P.C. (Proof of
                  Claim No. 10072) [D.I. 499] (the “Objection”) filed by certain of the Debtors in the Chapter
                  11 Case; and

        2.        Notice of Presentment of Motion to Dismiss the Complaint and Objection to Proofs of
                  Claim filed by Robinson Brog Leinwand Greene Genovese & Gluck, P.C., A. Mitchell
                  Greene and Adam Greene, the Declaration of Marian C. Rice in Support of Motion to
                  Dismiss Complaint and Objection to Proofs of Claims and the Memorandum of Law in
                  Support of Motion to Dismiss Complaint and Objection to Proofs of Claims [Adv. P. D.I.
                  7, 9 and 10] filed by Robinson Brog Leinwand Greene Genovese & Gluck, P.C., A.
                  Mitchell Greene and Adam Greene (collectively, “Robinson Brog”) in the Adversary
                  Proceeding.

       A status conference on the foregoing matters will be held on February 5, 2019 at 11:00 a.m.
(EST) before the Honorable Alan S. Trust, United States Bankruptcy Judge for the Eastern District of New
York, Conrad B. Duberstein U.S. Courthouse, 271-C Cadman Plaza East, Brooklyn, New York 11201.
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        The Debtors have agreed to extend Robinson Brog’s deadline to file a response to the Objection to
ten (10) days prior to the hearing on the Objection. The Debtors’ deadline to file a reply in support of the
Objection shall be three (3) days prior to the hearing on the Objection.

        The Debtors will serve a copy of this letter on Robinson Brog and all parties who have filed notices
of appearance in the Chapter 11 Case and Adversary Proceeding.


                                                 Very truly yours,

                                                 DLA Piper LLP (US)


                                                 /s/ Thomas R. Califano
                                                 Thomas R. Califano

                                                 Counsel to the Debtors and Debtors in Possession

AGREED TO:

L'Abbate, Balkan, Colavita & Contini, L.L.P.


/s/ Marian Rice
Marian Rice, Esq.

Counsel to Robinson Brog Leinwand Greene Genovese & Gluck, P.C.,
A. Mitchell Greene and Adam Greene
